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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  NATIONAL ASSOCIATION OF
  MINORITY VETERANS,

                          Plaintiff,

          v.                                           Civil Action No. 21-1298 (RC)

  U.S. DEPARTMENT OF VETERANS
  AFFAIRS,

                          Defendant.


                                       [PROPOSED] ORDER

        UPON CONSIDERATION of Defendant’s Renewed Motion for Summary Judgment, and

the entire record herein, it is hereby:

        ORDERED that Defendant’s Motion is GRANTED; and it is

        FURTHER ORDERED that summary judgment is entered for Defendant.

SO ORDERED.



________________                                   ___________________________________
DATE                                               UNITED STATES DISTRICT JUDGE




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